      Case 1:15-cv-02739-LAP Document 529 Filed 11/29/23 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGÍA INVERSORA S.A.U.
and PETERSEN ENERGÍA, S.A.U.,

                    Plaintiffs,
                                                  15 Civ. 2739 (LAP)
-against-

ARGENTINE REPUBLIC and YPF S.A.,

                    Defendants.

ETON PARK CAPITAL MANAGEMENT, L.P.,
ETON PARK MASTER FUND, LTD., and
ETON PARK FUND, L.P.,
                                                  16 Civ. 8569 (LAP)
                    Plaintiffs,
                                                         ORDER
-against-

ARGENTINE REPUBLIC and YPF S.A.,
                    Defendants.


LORETTA A. PRESKA, Senior United States District Judge:

     Defendant    Argentine    Republic’s    request    to   extend    the

December 5 deadlines and the interim stay of enforcement is hereby

GRANTED. Although the Court grants this request, the Court reminds

the Republic that, as a condition of the stay of enforcement with

minimal security, the Court required the Republic to seek expedited

review from the Court of Appeals; it is not a matter of agreement

between the parties.

     To accommodate the new administration in Argentina, the Court

will allow until January 10, 2024 for the Republic to pledge assets

to Plaintiffs, as directed in the Court’s November 21 Order [dkt.
         Case 1:15-cv-02739-LAP Document 529 Filed 11/29/23 Page 2 of 2



no. 453].     Additionally, the Court will allow a one-week extension

of the Republic’s deadline, to January 30, 2024, to file its

opening brief and seek expedited review from the Court of Appeals.

The temporary stay of enforcement will remain in effect until the

earlier of either (1) the Republic’s failure to pledge assets to

Plaintiffs by January 10, 2024, or (2) January 30, 2024.

     Upon      the   satisfaction      of   both   conditions,     that   is,

(1) pledging of assets as directed in the November 21 Order, and

(2) requesting       expedited    treatment   in   the   Court   of   Appeals

consistent with the parties’ now-amended briefing schedule, by no

later than January 30, 2024, the Republic is granted a further

stay of enforcement pending appeal.



SO ORDERED.

Dated:       November 29, 2023
             New York, New York


                                 __________________________________
                                 LORETTA A. PRESKA
                                 Senior United States District Judge




                                        2
